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   14
                              UNITED STATES DISTRICT COURT

   15
                            CENTRAL DISTRICT OF CALIFORNIA

   16
                                      WESTERN DIVISION

   17
         ALEX ROSAS and JONATHAN                Case No. 12-cv-00428 DDP (MRW)
   18    GOODWIN, on behalf of themselves
   19    and those similarly situated,          REPLY IN SUPPORT OF MOTION
                                                OF NON-PARTY LOS ANGELES
   20                Plaintiffs,                TIMES COMMUNICATIONS LLC
   21                                           TO INTERVENE AND UNSEAL
               v.
   22                                           Date: September 11, 2023
   23    ROBERT LUNA, in his official
         capacity as Sheriff of Los Angeles     Time: 10:00AM
   24    County,
   25                                           Judge: Hon. Dean D. Pregerson
                     Defendant.
   26
   27

   28
                            REPLY IN SUPPORT OF MOTION OF NON-PARTY
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    1                                    INTRODUCTION

    2         The performance of the officials and institutions responsible for allegedly

    3 unconstitutional conditions in Los Angeles County jails is not only a subject of vital

    4 public interest but also the heart of a weighty controversy now pending before this

    5 Court—one in which Plaintiffs ask that the Court exercise “important Article III

    6 powers” to conform the conduct of the Los Angeles County Sheriff’s Department to

    7 the law. Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1100 (9th Cir.

    8 2016) (citation omitted). The filing under seal of the Use-of-Force Materials on
                                  1
    9 which that controversy turns undermines the core promise of the right of access: that

   10 the public is entitled to judge the evidence in support of Plaintiffs’ requested relief

   11 “for itself rather than taking the Court and parties at their word.” In re Public

   12 Defender Service of D.C. to Unseal Certain Records, 607 F. Supp. 3d 11, 26 n.8

   13 (D.D.C. 2022). Simply put, the public’s right to “keep a watchful eye on the

   14 workings of public agencies,” Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598

   15 (1978), is not, as Defendant’s principal line of argument here suggests, overcome by

   16 government assurance that official misconduct has “vastly improved,” Defendant’s

   17 Omnibus Opposition at 3 (ECF No. 272).

   18         The motion of Los Angeles Times Communications LLC (the “Los Angeles
   19 Times” or the “Times”) to intervene and unseal those judicial records should be

   20 granted. Defendant’s objections to transparency confuse a hotly litigated controversy

   21

   22
        1
              As it did in its Motion to Intervene and Unseal (ECF No. 268) (“Motion”), the
        Times refers to the use-of-force packets and videos filed with the Court as exhibits in
   23
        support of Plaintiffs’ Motion to Modify Implementation Plan, as well as the redacted
   24   portions of Plaintiffs’ Memorandum of Points and Authorities and supporting
        declarations that reference those exhibits, collectively as “the Use-of-Force
   25
        Materials” in this Reply. The Times also agrees with Witness LA that the additional
   26   sealed judicial records identified in Witness LA’s motion to intervene should be made
        public for the same reasons. See ECF No. 269.
   27
                                                   1
   28                      REPLY IN SUPPORT OF MOTION OF NON-PARTY
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    1 over a public agency’s official conduct—one whose resolution will affect the rights

    2 and safety of more than 10,000 incarcerated individuals—with a run-of-the-mill

    3 discovery dispute between private litigants. Defendant cannot overcome the strong

    4 presumption of public access to judicial records that, contrary to its arguments, is

    5 fully applicable to the Use-of-Force Materials filed in support of Plaintiffs’ Motion to

    6 Modify Implementation Plan, and Defendant’s arguments against granting the Times

    7 intervenor status, for their part, were squarely rejected by the Ninth Circuit in San

    8 Jose Mercury News, Inc. v. U.S. District Court, 187 F.3d 1096 (9th Cir. 1999).

    9             For the reasons given herein and in its Motion, the Los Angeles Times

   10 respectfully requests that the Court enter an order granting its motion to intervene and

   11 unsealing the Use-of-Force Materials.

   12                                          ARGUMENT

   13        I.   The Times’ motion to intervene is timely, and Defendant’s arguments to
                  the contrary are foreclosed by Circuit precedent.
   14
                  As a threshold matter, in claiming undue delay, Defendant starts the clock on
   15
        the wrong date. For permissive intervention,2 the inquiry “looks to when the
   16
        intervenor first became aware that its interests would no longer be adequately
   17
        protected by the parties”—in this case, when the Use-of-Force Records were filed
   18
        under seal notwithstanding their importance to the public’s ability to evaluate
   19
        Plaintiffs’ pending motion to modify the implementation plan and this Court’s
   20
        anticipated resolution of that motion. San Jose Mercury News, 187 F.3d at 1101.
   21
        The bare fact that a protective order was entered in 2018 could not have given the
   22

   23

   24   22
              Defendant’s opposition also fails entirely to address the Times’ argument, see
      Memorandum of Points and Authorities in Support of Non-Party Los Angeles Times
   25
      Communications LLC to Intervene and Unseal at 6 (ECF No. 268-1), that the Times
   26 is entitled to intervene as of right to assert the public’s right of access, see Ford v.
      City of Huntsville, 242 F.3d 235, 240 (5th Cir. 2001).
   27

   28                                                 2
                                REPLY IN SUPPORT OF MOTION OF NON-PARTY
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    1 Times notice of the controversy that is now before the Court, nor the fact that the

    2 public’s interest in understanding it would not be adequately protected. That is

    3 especially so here because, under the protective order at issue, Plaintiffs had

    4 expressly “reserve[d] the right to move the Court to determine whether any

    5 Confidential Information may be publicly filed in this litigation pursuant to

    6 applicable federal law.” Stipulated Protective Order Regarding Class Counsel’s

    7 Access to Documents at 16 (ECF No. 193). Only when the Motion to Modify

    8 Implementation Plan was filed without an accompanying motion to make public the

    9 information on which it relied—information without which the press and public

   10 cannot fairly evaluate Plaintiffs’ allegations—did it become clear that the Times’

   11 intervention was necessary to vindicate the public’s interest in transparency.

   12        But even if it were proper to measure timeliness from the moment the

   13 protective order was entered—it isn’t—the Ninth Circuit has made clear that “delays

   14 measured in years have been tolerated where an intervenor is pressing the public’s

   15 right of access to judicial records.” San Jose Mercury News, 187 F.3d at 1101; see

   16 also Beckman Indus., Inc. v. Int’l Ins. Co., 966 F.2d 470, 471, 476 (9th Cir. 1992)

   17 (permitting intervention two years after settlement and four years after entry of

   18 “overinclusive” stipulated protective order). That is because the common law right of

   19 access “exists today for the records of cases decided a hundred years ago as surely as
   20 it does for lawsuits now in the early stages of motions litigation.” Pub. Citizen Grp.

   21 v. Liggett Grp., Inc., 858 F.2d 775, 786 (1st Cir. 1988) (internal citation omitted).

   22 The passage of years (or even decades)—to the extent it is relevant at all—should be

   23 considered only to the extent it may unduly prejudice a party, but Defendant’s only

   24 argument for prejudice—that Defendant bargained for a protective order in agreeing

   25 to produce materials, including the Use-of-Force Records, to Plaintiffs—was squarely

   26 rejected in San Jose Mercury News.
   27

   28                                             3
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    1        As the Ninth Circuit explained, “[t]he right of access to court documents

    2 belongs to the public, and the Plaintiffs were in no position to bargain that right

    3 away.” San Jose Mercury News, 187 F.3d at 1101. Instead, whether or not it was

    4 reasonable for Defendant to expect the stipulated protective order to shield judicial

    5 records subsequently filed with the Court in the face of a motion to unseal—it wasn’t,

    6 as discussed below—“should affect not the right to intervene, but the court’s

    7 evaluation of the merits of the applicant’s motion.” Id. (internal citation omitted).

    8        Defendant’s only contrary authority, Brunson v. Lambert Firm PLC, 757 F.

    9 App’x 563 (9th Cir. 2018), is inapposite. In that case, a proposed intervenor—who

   10 was by his own account “not after the confidential information or sealed files at all,”

   11 and whose interests were “identical to the interest advanced by” one of the parties—

   12 unsuccessfully attempted a duplicative challenge to the confidentiality term of a

   13 settlement “reached without court assistance,” id. (internal citation omitted). But to

   14 narrate those facts is to make clear that Brunson has nothing to say about the question

   15 presented here. For one, the sealing of the Use-of-Force Materials only recently filed

   16 with the Court was not a bargained-for aspect of the parties’ settlement agreement.

   17 On the contrary, the protective order on which Defendant relies was entered long

   18 after this Court approved that settlement, and, even by its own terms, the protective

   19 order does not promise Defendant any lasting secrecy; as noted above, it expressly
   20 contemplates that Plaintiffs may subsequently move to unseal information to which

   21 applies. See Stipulated Protective Order Regarding Class Counsel’s Access to

   22 Documents at 16 (ECF No. 193). But even if Defendant had bargained for secrecy,

   23 Brunson would not guarantee it because this case, far from involving “a private

   24 agreement reached without court assistance,” Brunson, 757 F. App’x at 566, concerns

   25 a court-approved settlement—closer in substance to a consent decree—that imposes

   26 specified obligations on a public agency and contemplates layer upon layer of
   27 ongoing public scrutiny, see, e.g., Hardy v. Kaszycki & Sons, No. 83-cv-6346, 2017

   28                                             4
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    1 WL 6805707, at *5–6 (S.D.N.Y. Nov. 21, 2017) (rejecting purported reliance interest

    2 in confidentiality given required role of court in approving class settlement). To the

    3 extent Defendant nevertheless assumed that all of the records produced to Plaintiffs

    4 would remain forever secret, San Jose Mercury News holds that “such reliance was

    5 unreasonable.” 187 F.3d at 1101. The Times’ motion to intervene should be granted.

    6       II.   The Use-of-Force Materials should be unsealed.

    7             “Information about the County’s possible mistreatment of its inmates is

    8 inherently a matter of significant public interest,” Greer v. County of San Diego, No.

    9 19-cv-378, 2023 WL 4479234, at *5 (S.D. Cal. July 10, 2023). Defendant cannot

   10 overcome that interest under any standard plausibly applicable here. In resisting

   11 disclosure, Defendant relies overwhelmingly on the insistence that the Sheriff

   12 produced the Use-of-Force Materials to Plaintiffs on the assumption they would

   13 remain privately held by the parties indefinitely. But when “a matter is brought

   14 before a court for resolution, it is no longer solely the parties’ case, but also the

   15 public’s case.” Callahan v. Network for Organ Sharing, 17 F.4th 1356, 1365 (11th

   16 Cir. 2021) (citation omitted). That is all the more true where, as here, the subject of

   17 the litigation is an issue of fundamental public concern, implicating the rights of

   18 thousands. As detailed below, whether under the governing compelling-interests test

   19 or Defendant’s preferred good-cause standard, the public is entitled to access here.
                                                                                           3


   20             A.     The common law presumption of public access attached to the Use-
                         of-Force Materials when they were filed with the Court.
   21
                  A strong common law presumption of access attaches to any motion that is
   22
        “dispositive” in the sense that it seeks relief “more than tangentially related to the
   23

   24
        3
                  Because either analysis requires all of the relief sought by the Times’ Motion,
   25 the Court need not reach the question whether the First Amendment also requires

   26 access. See United States v. Business of Custer Battlefield Museum & Store, 658 F.3d
        1188, 1196 (9th Cir. 2011) (approaching the common law first). The Times agrees
   27 with Witness LA, however, that the First Amendment presumption also attaches here.

   28                                                 5
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 1 merits of a case,” Ctr. for Auto Safety, 809 F.3d at 1101, as well as any material

 2 attached to that motion—regardless whether those attachments “were previously filed

 3 under seal or protective order,” Kamakana v. City & Cnty. of Honolulu, 447 F.3d

 4 1172, 1179 (9th Cir. 2006). Defendant’s efforts to evade the common law

 5 presumption here are meritless.

 6        For one, not one of Defendant’s (unreported) authorities for the claim that a

 7 motion to enforce a settlement agreement is not “dispositive” contains any reasoning

 8 for that conclusion. See Defendant’s Omnibus Opposition at 14 (ECF No. 272). And

 9 “[a]lthough case law within the Ninth Circuit is not uniform, there is ample authority

10 as to the dispositive nature of a motion to enforce [a] settlement.” Harper v. Nevada

11 Property 1, LLC, 552 F. Supp. 3d 1033, 1040 n.6 (D. Nev. 2021) (collecting cases).

12 For good reason: Much as a plea agreement often “takes the place of the criminal

13 trial,” Oregonian Pub. Co. v. U.S. Dist. Court, 920 F.2d 1462, 1465 (9th Cir. 1990), a

14 court-approved settlement agreement—and any motion to enforce it—“serve[s] as a

15 substitute for trial” in the civil context, WatchGuard Technologies, Inc. v. iValue

16 Infosolutions Pvt. Ltd., No. 15-1697, 2017 WL 3581624, at *1 (W.D. Wash. Aug. 18,

17 2017) (quoting Foltz v. State Farm Mutual Auto. Ins. Co., 331 F.3d 1122, 1135–36

18 (9th Cir. 2003)) (collecting yet more cases). That such motions “involve important

19 issues and information to which our case law demands the public should have access”
20 is especially clear here, where Plaintiffs’ request for relief—in substance—asks this

21 Court to enjoin a public agency to redress alleged violations of constitutional rights.

22 Ctr. for Auto Safety, 809 F.3d at 1098; see also id. at 1100 (strong common law

23 presumption of access to motions for preliminary injunction, which “affect litigants’

24 substantive rights” and “invoke important Article III powers” (citations omitted)).

25 This Court’s ultimate decision on the motion will, in practice, affect the rights and

26 physical safety of thousands of incarcerated individuals; it strains credulity to
27 describe that relief as non-dispositive.

28                                              6
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 1         Defendant’s argument that the Use-of-Force Materials fall into the “narrow”

 2 category of documents that have “traditionally been kept secret for important policy

 3 reasons” is even farther off the mark. Kamakana, 447 F.3d at 1178 (citation omitted).

 4 For one, it cannot be reconciled with the weight of authority discussed above, which

 5 holds that motions to enforce a settlement agreement are presumptively public under

 6 the common law. The fact that Plaintiffs’ Motion to Modify Implementation Plan

 7 happens to involve the conduct of law enforcement officials gets Defendant no

 8 further. Even assuming arguendo that Defendant could demonstrate that some piece

 9 of information in the Use-of-Force Materials implicates a valid privilege, the Ninth

10 Circuit already has rejected the claim that “documents subject to the privacy, law

11 enforcement, and official information privileges . . . automatically fall within the

12 ‘traditionally kept secret’ exception” when incorporated into a dispositive motion or

13 its attachments. Kamakana, 447 F.3d at 1184 (so holding with respect to summary

14 judgment motions). And the suggestion that a civil motion to enforce a court-

15 approved settlement agreement resembles, in any respect, a surveillance order during

16 the pre-indictment stage of an ongoing criminal investigation is simply not serious.
                                                                              4
17 See Forbes Media LLC v. United States, 61 F.4th 1072, 1081 (9th Cir. 2023).

18 Defendant can defend concealing any portion of the Use-of-Force Materials at issue

19 here, if at all, only by demonstrating “compelling reasons” to seal them. Id.
20         B.     The strong common law presumption of access is not overcome.
21

22

23   4
            Defendant’s reliance on Facebook, Inc. v. ConnectU, Inc., No. C 07-01389,
24   2008 WL 11357787 (N.D. Cal. July 2, 2008), is likewise misplaced. That case
     involved a motion for access to records reflecting the substance of “the parties’
25   settlement terms or negotiations” where the settlement itself included an express
26   confidentiality clause. Id. at *3. Not only did the parties in this case necessarily
     reach a public settlement, subject to multiple layers of ongoing public oversight, but
27   the Use-of-Force Materials have nothing to do with the parties’ negotiations.
28                                              7
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 1        To justify sealing any portion of a judicial record to which the common law

 2 presumption of access attaches, a party “must articulate compelling reasons supported

 3 by specific factual findings that outweigh the general history of access and the public

 4 policies favoring disclosure.” Kamakana, 447 F.3d at 1178–78 (alteration and

 5 citations omitted). Defendant advances a diversity of rationales for nondisclosure

 6 here, but none clear that “stringent” bar. Ctr. for Auto Safety, 809 F.3d at 1096.

 7        The argument Defendant presses most strenuously is that “forcing the

 8 Department to disclose information that was only produced on the condition of

 9 confidentiality is fundamentally unfair.” Defendant’s Omnibus Opposition at 17

10 (ECF No. 272); see also id. at 11–12, 16, 19, 21. But the Ninth Circuit has repeatedly

11 confronted and rejected that argument.

12        For one, Defendant ignores the significance of the fact that the Use-of-Force

13 Materials were attached to a substantive motion. Kamakana makes express that

14 “[t]he presumption of access is not rebutted where . . . documents subject to a

15 protective order are filed under seal as attachments to a dispositive motion,” because

16 the common law’s compelling-reasons standard is stricter than the good-cause

17 showing that might justify the entry of a protective order in the first instance. 447

18 F.3d at 1179 (omission in original) (citation omitted). That fact, alone, should be

19 enough to end discussion of Defendant’s purported reliance interests in this case.
20        Even setting that point aside, however, Ninth Circuit law makes clear that
21 Defendant’s claimed reliance on a stipulated protective order was “unreasonable,”

22 San Jose Mercury News, 187 F.3d at 1001, because the parties cannot promise

23 themselves that no non-party will later move to assert the public’s right of access—

24 especially where a party “has not made a particularized showing of good cause with

25 respect to any individual document,” id. at 1003; see also Beckman Indus., Inc., 966

26 F.2d at 476; Foltz, 331 F.3d at 1138. While Defendant insists that the protective
27 order was not overbroad because it “specifically references” several categories of

28                                             8
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 1 documents that the parties intended it to cover, Defendant’s Omnibus Opposition at

 2 16 (ECF No. 272), that argument misses the point. The order enumerates the

 3 documents to which it applies, but its statement of good cause deals with all of them

 4 as a lump sum—rehearsing in a single sentence the privileges that Defendant believes

 5 may apply, without explaining why any of them would apply to any specific record.

 6 See Stipulated Protective Order Regarding Class Counsel’s Access to Documents at 4

 7 (ECF No. 193). The protective order’s plain text makes clear that Defendant never

 8 “made a particularized showing of good cause with respect to any individual

 9 document” at issue now, San Jose Mercury News, 187 F.3d at 1003, and any reliance

10 Defendant may have placed on it does not provide a compelling reason to depart from

11 the presumption of access.

12        Defendant’s remaining rationales for secrecy are no more persuasive. A party

13 cannot incant “ongoing investigation” and overcome the common law presumption,

14 see Kamakana, 447 F.3d at 1184, but in any event Defendant concedes that “most of

15 the videos at issue concern investigations which are no longer ongoing,” Defendant’s

16 Omnibus Opposition at 13 (ECF No. 272); see also Custer Battlefield Museum, 658

17 F.3d at 1194 (even as to bona fide investigative materials, investigative interests “not

18 as relevant once an investigation has been closed”). What’s more, Defendant’s

19 suggestion that unsealing the Use-of-Force Materials could chill cooperation in
20 internal investigations goes entirely unexplained. See LaRocca v. City of Los

21 Angeles, No. 2:22-cv-06948, 2023 WL 4291066, at *4 (C.D. Cal. May 31, 2023)

22 (rejecting similar argument against unsealing video of use of force where city

23 asserted but did not “explain how or why the public release of the videos would

24 impede LAPD’s ability to use the Videos to conduct internal evaluations”);

25 Kamakana, 447 F.3d at 1182 (claim that release of law enforcement records

26 previously withheld pursuant to a stipulated protective order would “hinder [the]
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 1 agency’s future operations with other agencies” or “cast [the agency’s] officers in a

 2 false light” was “conclusory” and did not meet “compelling reasons” standard).

 3        As to Defendant’s reliance on its employees’ privacy, law enforcement officers

 4 have no reasonable expectation of privacy in official footage of “on-duty incidents.”

 5 Santa Ana Police Officers Ass’n v. City of Santa Ana, 723 F. App’x 399, 402 (9th Cir.

 6 2018) (so holding with respect to body camera videos); see also, e.g., Dominguez v.

 7 City of Los Angeles, No. 17-4557, 2018 WL 6333661, at *3 (C.D. Cal. Apr. 23, 2018)

 8 (“[P]rivacy interests are diminished for public actors subject to legitimate public

 9 scrutiny.”). As a court in this District observed in the very context presented here—

10 access to video footage documenting an allegedly unlawful use of force—officials

11 who serve the public “cannot assert a valid compelling interest in sealing the videos

12 to cover up any wrongdoing on their part or to shield themselves from

13 embarrassment.” Mendez v. City of Gardena, 222 F. Supp. 3d 782, 792 (C.D. Cal.

14 2015). In any event, any such interest would justify, at most, blurring officers’

15 faces—not concealing all evidence of their official conduct. See, e.g., Dominguez,

16 2018 WL 6333661, at *4; Sampson, No. 14-cv-1807, 2015 WL 11658713, at *7 (S.D.

17 Cal. Aug. 31, 2015). Defendant’s single-sentence assertion that videos “cannot easily

18 be redacted,” Decl. of Larry Alva at 3, is belied by the wealth of case law in and out

19 of this Circuit requiring just that, see Dominguez, 2018 WL 6333661, at *4; Sampson,
20 2015 WL 11658713, at *7; see also Evans v. Federal Bureau of Prisons, 951 F.3d

21 578, 587 (D.C. Cir. 2020) (rejecting conclusory assertion that government could not

22 blur jail footage given that “teenagers [who] have fewer resources than the United

23 States government” can do so on social media). That the means to do so are readily
                                                 5


24

25   5
          The Times does not concede that there are any privacy interests implicated in
26 this case that would require blurring identifying information in the Use-of-Force
   Materials. See, e.g., LaRocca, 2023 WL 4291066, at *2–4 (noting the possibility of
27 “blurring of the faces of non-parties” but ordering full disclosure of video instead).

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 1 available to the public is apparent from the Times’ own reporting. See, e.g., Keri

 2 Blakinger, Fights, Beatings and a Birth: Videos Smuggled out of L.A. Jails Reveal

 3 Violence, Neglect, L.A. Times (June 24, 2023), https://perma.cc/5ULL-73ZD

 4 (publishing––with blurred faces––raw footage documenting conditions in L.A. jails).

 5        Incarcerated individuals, for their part, might have legitimate medical privacy

 6 interests to assert, but class counsel for Plaintiffs—who represent their interests—

 7 have not opposed disclosure here. See City of Gardena, 222 F. Supp. 3d at 792

 8 (rejecting effort by law enforcement officials to invoke the privacy of individuals

 9 subjected to excessive use of force where Plaintiffs “have made abundantly clear that

10 they wish the videos to be made available to the public”). Moreover, any such

11 interests could only justify sealing information “unrelated” to the merits of Plaintiffs’

12 claims against Defendant—not “aspects of [the] medical condition at issue” in the

13 very allegations of excessive force presented by Plaintiffs’ Motion to Modify

14 Implementation Plan, such as injuries resulting from the use of force. Lopez v.

15 Nevada Dep’t of Corrections, No. 3:17-cv-00732, 2021 WL 11430905, at *2 (D.

16 Nev. Oct. 22, 2021). And, as above, Defendant does not explain why any medical

17 privacy interest would extend beyond the blurring of faces or the redaction of

18 “identifying information” of particular incarcerated individuals in light of the intense

19 public interest in understanding the gravity of the force allegedly used by public
20 officials against individuals under their care. Chi v. University of Southern

21 California, No. 2:18-cv-04258, 2019 WL 3315282, at *9 (C.D. Cal. May 21, 2019).

22 But to the extent that any such blurring would conceal official misconduct by law

23 enforcement employees entrusted with supervision of the jails, the public interest in

24 disclosure would outweigh public employees’ interest in avoiding scrutiny of their

25 misbehavior while doing the public’s business. See Mendez, 222 F. Supp. 3d at 792.

26        In sum, the interests asserted by Defendant would justify, at most, targeted
27 blurring in the Use-of-Force Materials. But because Defendant has failed to

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 1 “articulate compelling reasons supported by specific factual findings that outweigh

 2 the general history of access and the public policies favoring disclosure” that would

 3 justify even that, Kamakana, 447 F.3d at 1178–78 (alteration and citations omitted),

 4 this Court should order the Use-of-Force Materials unsealed in their entirety.

 5         C.     Even under a good-cause standard, Defendant cannot show that
                  sealing is justified given the powerful public interest in access.
 6
           Though Defendant resists the compelling-reasons standard, the distinction is
 7
     largely academic: Defendant likewise falls short of his “burden of showing specific
 8
     prejudice or harm” under a good-cause standard. Phillips ex rel. Estates of Byrd v.
 9
     Gen. Motors Corp., 307 F.3d 1206, 1210–11 (9th Cir. 2002). Indeed, many of the
10
     cases cited above that ordered the disclosure of videos documenting the official
11
     conduct of law enforcement were decided under the good-cause standard. See
12
     Dominguez, 2018 WL 6333661, at *3 (granting motion to unseal body camera
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     footage of fatal shooting where city had not “made a showing of particularized harm
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     that outweigh[ed] the public interest in disclosure”); Sampson, 2015 WL 11658713,
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     at *10–11 (granting motion to unseal dash-cam and body camera footage of
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     individual who died in police custody in light of, inter alia, the public interest in
17
     “allegations of improper police treatment of minorities”); LaRocca, 2023 WL
18
     4291066, at *2–4 (granting motion to unseal video evidence of use of force). For
19
     much the same reasons that Defendant’s arguments fail to establish compelling
20
     reasons, his “[b]road allegations of harm, unsubstantiated by specific examples or
21
     articulated reasoning,” do not show good cause, Beckman Indus., 966 F.2d at 476,
22
     especially in light of the less-restrictive alternative of redaction, see In re Roman
23
     Catholic Archbishop of Portland in Oregon, 661 F.3d 417, 425 (9th Cir. 2011).
24
           Defendant attempts to bolster that thin showing by suggesting that the good-
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     cause inquiry does not permit this Court to consider the public interest in disclosure,
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     see Defendant’s Omnibus Opposition at 18 n.6 (ECF No. 272), or, in the alternative,
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 1 disputing the public interest in the Use-of-Force Materials on the theory that the

 2 public knows enough about misconduct in the jails already. But the prospect that

 3 further disclosure will clash with Defendant’s official narrative that conditions have

 4 improved is not a cognizable harm to Defendant; on the contrary, whether

 5 Defendant’s characterization is accurate is the very controversy that Plaintiffs’

 6 Motion to Modify Implementation Plan has put before this Court, and the public has a

 7 powerful interest in judging the fact of the matter for itself. Neither of Defendant’s

 8 justifications for excluding consideration of the public interest in this case has merit.

 9        For one, Ninth Circuit law makes clear that the requirement “to balance ‘the

10 public and private interests’” is an aspect of any good-cause analysis, not a

11 requirement distinctive to a motion to continue a protective order. In re Roman

12 Catholic Archbishop, 661 F.3d at 424 (quoting Phillips, 307 F.3d at 1211). Courts

13 routinely apply just that balancing exercise in granting a motion to unseal material

14 subject to the good-cause standard—whether that motion is advanced by an

15 intervenor or a party—even where an opposing party has made a threshold showing

16 of particularized harm. See, e.g., NML Capital Ltd. v. Republic of Argentina, No.

17 2:14-cv-492, 2015 WL 727924, at *7 (D. Nev. Feb. 19, 2015) (granting media

18 intervenor’s motion to unseal deposition testimony, despite threshold showing that

19 the transcript contained trade secrets, in light of public interest in Argentina’s debt
20 crisis); Dominguez, 2018 WL 6333661, at *3 (acknowledging “the sensitive nature of

21 the videos involving [a fatal shooting]” but concluding it did not “outweigh the

22 public’s interest in fairness and transparency with respect to law enforcement” in

23 granting plaintiff’s motion to unseal); Estate of Neil v. County of Colusa, No. 2:19-

24 cv-02441, 2020 WL 5535448, at *2–3 (E.D. Cal. Sept. 15, 2020) (law enforcement

25 defendants’ conclusory assertions about privacy, recruitment and workplace morale

26 did not outweigh public interest in access to investigative reports on jail inmate’s
27 suicide under good cause standard). Other circuits take the same approach. See, e.g.,

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 1 In re Nat’l Prescription Opiate Litig., 927 F.3d 919, 931 (6th Cir. 2019) (under good-

 2 cause standard, balancing media intervenors’ “interest in reporting on [sealed

 3 information] and the public interest in learning what such reporting would reveal”

 4 against private interest in secrecy). This Court can—indeed, must—weigh the

 5 overwhelming public interest in favor of disclosure of the Use-of-Force Materials.

 6        The weight of that interest cannot be gainsaid: “The public unquestionably

 7 holds an interest in the operations of the County and County jails which are both

 8 supported by tax dollars—especially when they have resulted in numerous deaths and

 9 injuries.” Greer, 2023 WL 4479234, at *5. Defendant suggests that there is enough

10 “publicly available information” about the jails already, Defendant’s Omnibus

11 Opposition at 21 (ECF No. 272), but it is practically a truism that videos of use-of-

12 force incidents play a unique role in public oversight of law enforcement. The “self-

13 authenticating character” of video “makes it highly unlikely that other methods could

14 be considered reasonably adequate substitutes,” Am. C.L. Union of Illinois v. Alvarez,

15 679 F.3d 583, 607 (7th Cir. 2012), and such videos have “spurred action at all levels

16 of government to address police misconduct and to protect civil rights,” Fields v. City

17 of Philadelphia, 862 F.3d 353, 360 (3d Cir. 2017) (internal citation omitted). That

18 “direct, tangible evidence of the compelling nature” of video of individual incidents

19 makes clear that “aggregate data” does not exhaust the public interest in
20 understanding Defendant’s management of the L.A. County jails. In re Nat’l

21 Prescription Opiate Litig., 927 F.3d at 934 (under good-cause standard, rejecting

22 adequacy of aggregate data on opioid prescriptions given role “transactional-level

23 data” had played in news reporting and governmental inquiries into need for reform).

24        At base, as Defendant concedes, the Use-of-Force Materials vividly capture the
25 “incidents most likely to involve problematic uses of force.” Defendant’s Omnibus

26 Opposition at 5 n.2 (citation omitted). They go, in other words, to the heart of the
27 issue now being litigated by the parties, the heart of Plaintiffs’ pending motion to

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 1 modify the court-ordered implementation plan, and the heart of the public’s interest

 2 in understanding allegations of persistent unconstitutional conditions in the L.A.

 3 County jails. Under any plausibly applicable standard, this Court should order the

 4 Use-of-Force Materials unsealed.

 5                                    CONCLUSION

 6        For the reasons set forth above and in the Times’ Motion, the Los Angeles

 7 Times respectfully requests that the Court grant its motion to intervene and enter an

 8 order unsealing the Use-of-Force Materials.

 9 Dated: August 28, 2023.

10                                                 s/ Katie Townsend
11                                                 Katie Townsend
                                                   REPORTERS COMMITTEE FOR
12                                                 FREEDOM OF THE PRESS
13
                                                   Counsel for Non-Party Intervenor
14                                                 LOS ANGELES TIMES
15                                                 COMMUNICATIONS LLC

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